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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

IN RE NATIONAL PRESCRIPTION
                                                 MDL 2804
OPIATE LITIGATION
                                                 Case No. 17-md-2804

This document relates to:
                                                 Hon. Dan Aaron Polster
Track One Cases



     NOTICE OF SUPPLEMENTAL AUTHORITY PERTINENT TO PLAINTIFFS’ OBJECTIONS TO
                            DISCOVERY RULING NO. 5
        Plaintiffs hereby notify the Court of supplemental authority pertinent to their

Objections to Discovery Ruling No. 5 (the “Objections”). On October 10, 2018, the

Special Discovery Master in the opioid litigation pending in state court in Oklahoma,

State of Oklahoma ex rel. Mike Hunter v. Purdue Pharma, L.P. et al., (Dist. Ct.

Cleveland Co., OK), issued his decision with respect to a motion to compel discovery. A

copy of the Oklahoma decision (“Ok. Order”) is attached. Some of the interrogatories at

issue were substantially similar to those at issue in Discovery Ruling No. 5. See Ok.

Order at 2 (describing information sought to include identification of “’unnecessary or
excessive’ prescriptions”). The Oklahoma Special Discovery Master denied the motion

to compel, primarily on the basis that the State intends to prove its case (brought

pursuant to the Okla. Medicaid False Claims Act) through aggregate, rather than

individualized, proof. The ruling was issued on the same day as the Objections and

Plaintiffs did not learn of it until the following day.

       Plaintiffs respectfully submit that the Ok. Order further confirms that, as set forth

in the Objections, Plaintiffs should not be required to provide the information ordered by

the Special Master in Discovery Ruling No. 5.
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Dated: October 11, 2018
                                       s/Peter H. Weinberger
                                       Peter H. Weinberger (0022076)
                                       SPANGENBERG SHIBLEY & LIBER LLP
                                       1001 Lakeside Avenue East, Suite 1700
                                       Cleveland, OH 44114
                                       (216) 696-3232
                                       (216) 696-3924 (FAX)
                                       pweinberger@spanglaw.com

                                       Plaintiffs’ Co-Liaison Counsel


                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 11th day of October 2018, I electronically filed
the foregoing with the Clerk of Court by using the CM/ECF System. Copies will be
served upon counsel of record by, and may be obtained through, the Court CM/ECF
Systems.


                                       s/Peter H. Weinberger
                                       Peter H. Weinberger
                                       Plaintiffs’ Co-Liaison Counsel




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